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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001 :
                                                                    :
                                                                    : PROPOSED ORDER
                                                                    :
                                                                    : 1:03 MDL 1570 (GBD) (SN)
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This Document Relates to:
Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 1:02-cv-06977 (GBD)(SN)
Ashton, et al. v. Kingdom of Saudi Arabia, Case No. 1:17-cv-02003 (GBD)(SN)
Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 1:02-cv-07236 (GBD)(SN)
Burlingame, et al. v. bin Laden, et al., Case No. 02-cv-6977 (GBD) (SN)

Katherine Maher, in her own right and as Executrix of the Estate of Daniel L. Maher, Deceased;
Patricia Ryan, in her own right and as Executrix of the Estate of John J. Ryan, Deceased;
Kristen Breitweiser, in her own right and as Administratrix of the Estate of Ronald Breitweiser,
Deceased; and Caroline Breitweiser v. Republic of the Sudan (Proposed New Member Case)


         AND NOW, this _____ day of ____________, 2020, it is hereby ORDERED and

DECREED that the Maher Plaintiffs’ Motion to File a New Associated Case Under A Short Form

Complaint and to Adopt Ashton for Claims Against Defendant Republic of the Sudan is

GRANTED.

         The Maher Plaintiffs shall file their Short Form Complaint against Defendant The

Republic of Sudan, which adopts the allegations of Ashton, et al. v. al Qaeda Islamic Army, et al.,

Case No. 1:02-cv-06977 (GBD)(SN), and it shall be filed as a new associated case in this MDL.

                                                      SO ORDERED.

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                                                      U.S. MAGISTRATE JUDGE

Date:
